IN THE DISTRICT COURT OF THE UNITED STATES |
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

STATESVILLE DIVISION
DOCKET NO. 5:13CR41-1

UNITED STATES OF AMERICA

)
)
Vv. ) ENTRY AND

) ACCEPTANCE OF GUILTY PLEA
)

)

)

(RULE 117 PROCEEDING)

Kenneth Herman Bennett

 

On the date indicated below, the defendant appeared with counsel, was duly
sworn, and answered the following questions on the record:

Questions (asked by Magistrate Judge) Defendant's Answers

1. Do you understand that you are Yes &) No( )
under oath, and that you are required

to give truthful answers to the questions

fam about to ask?

2. Do you understand that if you give Yes xy No( )
false information under oath you may be
prosecuted for perjury or false statement?

3. After consulting with your attorney, Yes (XJ) —-No(_ )
do you want this Court to accept your

guilty plea to one or more counts in the

Bill of Indictment (or Bill of Information)?

4, Do you understand that you have the Yes (x) No( )
right to have a U.S. District Judge conduct
this proceeding?

5. Recognizing your right to proceed Yes X% No( )
before a District Judge, do you expressly

consent to proceed in this Court, that is,

before a U.S. Magistrate Judge?

6. Are you now under the influence of Yes( ) No (x)
alcohol, medicines, or drugs of any sort?

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7. Is your mind clear, and do you understand Yes <j
that you are here to enter a guilty plea in your case?

8, Have you received a copy of the Yes x)
indictment/information and have you discussed
its contents with your attorney?

[The charges, maximum penalties, and mandatory
minimum sentences (if any) were explained, on
the record, at this point in the proceeding]

9. Do you fully understand the charge(s) Yes x)
against you, including the maximum (and, where

applicable, minimum) penalties you face if

convicted?

10. Have you been advised by your attorney Yes( )
that if you are not a citizen of the United States,

your guilty plea may have adverse immigration
-consequences?

11. | Have you been advised by your attorney Yes( )
that if you are not a citizen of the United States,

your guilty plea may result in deportation or

removal from the United States?

12. Have you spoken with your attorney about Yes x )
how the U. S. Sentencing Guidelines might apply
fo your case?

13. Do you understand that the District Judge Yes )
will not be able to determine the applicable

Sentencing Guidelines range until after your

Presenience Report has been prepared, and

you have had an opportunity to comment on it?

14. Do you also understand that in some Yes x)
circumstances you may receive a sentence ,
that is different—that is, either higher or

lower—than that called for by the Guidelines?

15. Do you understand that the Court may Yes 4
order restitution, where applicable?

No (

No (

No {

No {

No {

No (

No (

No {(

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16. Do you understand that if the sentence — Yes 4
is more severe than you expected, or the

Court does not accept the government's

sentencing recommendation, you will still

be bound by your plea and will have no

right to withdraw it?

17. Do you understand that parole has Yes X)
been abolished, and that if you are

sentenced to a term of imprisonment

you will not be released on parole?

18. If your sentence includes imprison- Yes %
ment, do you understand that the District

Judge may also order a term of “supervised

release”?

19. Do you also understand that if you Yes (X)
violate the terms and conditions of

supervised release, which typically lasts

from one to five years, you could be returned

to prison for an additional period of time?

20. Do you understand that you have a Yes (x)
right to plead NOT GUILTY, to have a speedy

trial before a judge and jury, to summons

witnesses to testify in your behalf, and

to confront witnesses against you?

21. — If you exercised your right to trial Yes <)
you would be entitled to the assistance of

a lawyer, would not be required to testify,

would be presumed innocent, and the burden

would be on the government to prove your quilt

beyond a reasonable doubt. Do you understand

all of these righis?

22. By entering this plea of guilty you Yes (x)
are waiving (or giving up) these rights.

There will be no trial. If your guilty plea

is accepted, there will be one more hearing,

where the District Judge will determine:

(a) whether there is a factual basis for your

plea; and (b) what sentence to impose.

Do you understand that?

No( )
No( )
No( )
No( )
No( )
No( )
No( )

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23. Are you, in fact, guilty of the counts — Yes (X) No( )
in the Bill of Indictment (or Bill of Information)

to which you have come to court today

to plead guilty?

24. Have the United States and the defendant Yes(X} = No(_ )
entered a Plea Agreement in this case?

[The attorneys for the Government and the
Defendant summarized the terms of any Plea
Agreement io the Court, on the record, at this
point in the proceeding. However, the parties
Understand that the written, filed Plea Agreement
is the best statement of those terms, and
therefore "speaks for itself’.]

 

25. Do you understand those to be the terms Yes ‘) No( )
of your Plea Agreement, and do you agree with
those terms?

26. Has the right to appeal your conviction Yes X ) No( )
and/or sentence been expressly waived in the
Plea Agreement?

27, Has the right to challenge your conviction Yes x No( )
and/or sentence in a post-conviction proceeding
also been expressly waived in the Plea Agreement?

28. _|s that your signature on the Plea Yes OS No( )
Agreement?
29. Has anyone threatened, intimidated, or Yes( ) No (X)

forced you to enter your guilty plea today?

30. Other than the terms of your Plea Agree- Yes( } No (™
ment, has anyone made you promises of leniency .

or a light sentence to induce you to plead guilty?

31. Have you had enough time to discuss with Yes (X) No( )}

your attorney any possible defenses you may
have to these charges?

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32. Are you satisfied with the services of Yes (X)
your attorney in this case?

33.  {s there anything you would like to say Yes (X)
ai this time about the services of your attorney?

[Any statement that was made is on the record.]
34. Have you heard and understood all parts Yes i)
of this proceeding, and do you still wish to plead
guilty?

35. Do you have any questions or statements Yes( }
you would like to make ait this time?

[Any statement that was made is on the record.]
36. Counsel, have you reviewed each of Yes 4)
the terms of the Plea Agreement with
[the defendant], and are you satisfied that
he (she) understands those terms?

[Any statement that was made is on the record.]

No¢ ).

No( )

No( )

No ™)

No( )

ON ADVICE AND IN THE PRESENCE OF COUNSEL, THE DEFENDANT
CONSENTS TO THE ACCEPTANCE OF HIS/HER GUILTY PLEA BY A MAGISTRATE
JUDGE. BY SIGNING BELOW, THE DEFENDANT (AND COUNSEL) AFFIRM THAT
THE ANSWERS GIVEN DURING THIS PROCEEDING ARE TRUE AND COMPLETE

TO THE BEST OF THEIR KNOWLEDGE.

 

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Based upon the representations and answers given by the defendant (and
counsel) in this proceeding, the Court finds that the defendant's plea is knowingly and
voluntarily made; and that the defendant understands the charges, potential penalties,
and consequences of his (her) plea. Accordingly, the defendant's plea is hereby
accepted.

SO ORDERED, this. 3rd__ day of December, 2013

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United States Magistrate Suds

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